          Case 2:10-cv-00106-LRH-VCF Document 70 Filed 06/24/10 Page 1 of 6



 1   SHOOK, HARDY & BACON LLP                                 GREENBERG TRAURIG
     B. Trent Webb, Esq. (pro hac vice)                       Mark G. Tratos, Esq. (Nevada Bar No. 1086)
 2   Eric Buresh, Esq. (pro hac vice)                         Brandon Roos, Esq. (Nevada Bar No. 7888)
     2555 Grand Boulevard                                     Leslie Godfrey, Esq. (Nevada Bar No. 10229)
 3   Kansas City, Missouri 64108-2613
     Telephone: (816) 474-6550                                Attorneys for Defendants
 4   Facsimile: (816) 421-5547                                RIMINI STREET, INC. and SETH RAVIN
     bwebb@shb.com
 5   eburesh@shb.com
 6   Robert H. Reckers, Esq. (pro hac vice)
     600 Travis Street, Suite 1600
 7   Houston, Texas 77002
     Telephone: (713) 227-8008
 8   Facsimile: (731) 227-9508
     rreckers@shb.com
 9

10                                 UNITED STATES DISTRICT COURT
                                        DISTRICT OF NEVADA
11

12   ORACLE USA, INC., a Colorado corporation;
     ORACLE AMERICA, INC., a Delaware
13   corporation; and ORACLE INTERNATIONAL
     CORPORATION, a California corporation,
14                                                                  Case No. 2:10-cv-0106-LRH-PAL
     Plaintiffs,
15                                                              DEFENDANT RIMINI STREET’S
     v.                                                         MOTION FOR PROTECTIVE
16                                                              ORDER REGARDING THE
     RIMINI STREET, INC., a Nevada corporation;                 LOCATION OF DEPOSITIONS
17   SETH RAVIN, an individual,
18   Defendants.
19   //
20   //
21   //
22   //
23

24

25

26

27

28
                        RIMINI STREET INC.’S OPPOSITION TO RIMINI STREET’S MOTION TO DISMISS
                                                                                                 2:10-CV-106
     4054854 V1
           Case 2:10-cv-00106-LRH-VCF Document 70 Filed 06/24/10 Page 2 of 6




 1           RIMINI STREET’S MOTION FOR PROTECTIVE ORDER REGARDING THE
                               LOCATION OF DEPOSITIONS
 2

 3            Pursuant to Federal Rule of Civil Procedure 26(c), Defendant Rimini Street, Inc. (“Rimini
 4   Street”) files this motion for protective order regarding the location of depositions.
 5
     I.       REQUEST FOR EXPEDITED TREATMENT
 6

 7            The present motion addresses a deposition scheduled to take place tomorrow, June 25, 2010.
 8
     The parties engaged in a meet-and-confer process (described below and provided in Attachment A)
 9
     that did not present a solidified dispute until the evening of June 23, 2010. Accordingly, Rimini
10
     Street requests expedited treatment of this motion such that, if possible, the Court may provide a
11

12   resolution to the parties’ dispute prior to the currently scheduled deposition. To that end, counsel for

13   Rimini Street can be available today for a telephonic conference on the present issues to the extent

14   the Court would desire such a conference.
15

16   II.      INTRODUCTION AND MEET AND CONFER PROCESS
17            Put simply, Oracle is seeking to require Rimini Street’s witness to appear at the offices of
18   Oracle USA, Inc.’s (“Oracle”) counsel rather than a location chosen by and preferable to the witness.
19   In the interest of protecting its witness from unnecessary strain, Rimini Street objects to producing
20   witnesses at opposing counsel’s offices. Accordingly, Rimini Street seeks the Court’s protection.
21   The parties agree that the deposition should take place in the San Francisco Bay area. In fact, the
22   actual locations in question are merely several blocks apart. However, Rimini Street’s witness, who
23   has never been deposed before, strongly prefers providing testimony at a familiar and less
24   intimidating location. And Oracle’s counsel has no legitimate reason to force Rimini Street’s
25   witnesses to endure any more discomfort than necessary. Through extensive correspondence, the
26   parties have met and conferred regarding this matter, and have been unable to reach an agreement.
27   See Attachment A (correspondence, including Oracle’s Rule 30(b)(6) deposition notice). Rimini
28   Street made numerous offers to resolve this dispute without involving the Court. For example,

                            RIMINI STREET INC.’S OPPOSITION TO PLAINTIFFS MOTION TO DISMISS
     4054854 v1                                         1                                     2:10-CV-106
           Case 2:10-cv-00106-LRH-VCF Document 70 Filed 06/24/10 Page 3 of 6




 1   Rimini Street offered a bi-lateral agreement by which each party could select the location for its own

 2   witnesses for depositions. See id. at 3 – 4. Rimini Street also offered means for resolving the instant

 3   dispute without risking a delay in the currently scheduled deposition. See id. at 4. The parties could

 4   not reach any such resolution.

 5   II.      LEGAL STANDARD

 6            With respect to the location of a 30(b)(6) deposition of a defendant, the presumption is that

 7   deposition will occur where the witness is normally located. James Brooks Co., Inc. v. Certain

 8   Underwriters at Lloyd’s London, 2006 WL 2168195 at *3 (E.D. Cal., 2006); Belk, Inc. v. Meyer

 9   Corp., 2009 WL 703704 at *5 (W.D. N.C., 2009) (“in the absence of special circumstances, a party

10   seeking discovery must go where the desired witnesses are normally located.”) (citations omitted).

11   If the deposing party names another place for deposition and the defendant objects, “the objection

12   should be sustained absent some unusual circumstance to justify putting the defendant to such

13   inconvenience.” James Brooks Co., 2006 WL 2168185 at *3.

14            A party is allowed to move for a protective order designating a different place for the

15   deposition. HIMC Corp. v. Ramchandani, 2008 WL 706794 at *2 (W.D. Wash., 2008). “Once their

16   protection is sought, district courts have wide discretion to establish the time and place of

17   depositions.” Fausto v. Credigy Servs. Corp., 251 F.R.D. 427, 429 (N.D. Cal. 2008). In granting a

18   protective order, “Courts consider the relative convenience of and hardships to the parties when

19   determining whether there is good cause.” Id.

20   III.     GOOD CAUSE SUPPORTS THE REQUESTED PROTECTIVE ORDER
21
              Rimini Street’s witness, and many anticipated upcoming Rimini Street witnesses, have never
22
     been deposed before and, understandably, are anxious regarding the process.              Common sense
23
     dictates that such witnesses are going to be more comfortable, less intimidated, and less anxious in a
24
     familiar setting. While Rimini Street does not believe it is Oracle’s goal, the practical impact of
25
     Oracle’s demand is that Rimini Street’s witness will be less comfortable, more intimidated, and more
26
     anxious in an unfamiliar and adversarial setting such as opposing counsel’s offices. Putting Rimini
27
     Street’s witness through unnecessary hardship is not consistent with the presumptively shared goal
28
                            RIMINI STREET INC.’S OPPOSITION TO PLAINTIFFS MOTION TO DISMISS
     4054854 v1                                         2                                     2:10-CV-106
        Case 2:10-cv-00106-LRH-VCF Document 70 Filed 06/24/10 Page 4 of 6




 1   of developing a clear record from which the parties can resolve their dispute on the merits. From a

 2   procedural perspective, Oracle seeks to depose Rimini Street witnesses at the offices of its counsel,

 3   going against the presumption that a defense witness should be deposed in the place where they are

 4   normally located. Rimini Street objected. Absent special circumstances, this objection should be

 5   sustained. James Brooks Co., 2006 WL 2168185 at *3. Oracle has not and cannot identify any

 6   special circumstances.

 7           Oracle has asserted that it needs to take the deposition in its counsel’s office because

 8   “attorneys often need access to work product material during the deposition. [Rimini Street’s]

 9   proposal requires that we anticipate the need for all such material and bring it with us, or do

10   without.” See Attachment A at 1. This argument is illegitimate for two reasons. First, it focuses on

11   the convenience of one party’s counsel, while ignoring the hardship to the witness. Fausto, 251

12   F.R.D. at 429. Second, Oracle’s argument is contrary to the reality of deposition practice, in which

13   deposing attorneys must prepare for and bring exhibits to a deposition, often in cities or countries far

14   away from their offices. Further, Rimini Street has assured Oracle’s counsel that it would afford

15   them the amenities it requires to remedy any unanticipated needs, including the ability to print and

16   copy documents as necessary.

17           In short, Oracle has shown no special or unusual circumstance justifying ignoring Rimini

18   Street’s objection. The proffered witness would face unnecessary hardship by undergoing the

19   deposition process in unfamiliar surroundings at the offices of opposing counsel. Accordingly, good

20   cause exists for the granting of the requested protective order. Importantly, the purpose of the

21   deposition will be furthered in that the search for truth will be facilitated by having the deposition

22   proceed under circumstances that limit hardship to the witness. Oracle will not be prejudiced by the

23   granting of this protective order, and, indeed, it is everyday practice that deposing counsel bring

24   exhibits to the location of the witness to conduct a deposition.

25   IV.     CONCLUSION
26           Oracle has shown no unusual or special circumstances to overcome the defendant’s

27   objections, and justify hardship to the deponent.            Rimini Street has shown good cause for a

28
                              RIMINI STREET INC.’S OPPOSITION TO PLAINTIFFS MOTION TO DISMISS
     4054854 v1                                           3                                     2:10-CV-106
        Case 2:10-cv-00106-LRH-VCF Document 70 Filed 06/24/10 Page 5 of 6




 1   protective order instructing that the upcoming deposition take place at the location selected by

 2   Rimini Street.

 3

 4   DATED:           JUNE 24, 2010                         SHOOK, HARDY & BACON
 5

 6                                                          By: __/s/ Eric Buresh____________
                                                            B. Trent Webb, MO Bar No. 40778
 7                                                          Eric A. Buresh, MO Bar No. 52407
                                                            Robert H. Reckers, TX Bar No. 24039520
 8                                                          SHOOK, HARDY & BACON L.L.P.
                                                            2555 Grand Blvd.
 9                                                          Kansas City, MO 64108-2613
10                                                          816-474-6550 Telephone
                                                            816-421-5547 Facsimile
11                                                                Attorney for Defendants
                                                                  Rimni Street, Inc. and Seth Ravin
12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
                            RIMINI STREET INC.’S OPPOSITION TO PLAINTIFFS MOTION TO DISMISS
     4054854 v1                                         4                                     2:10-CV-106
        Case 2:10-cv-00106-LRH-VCF Document 70 Filed 06/24/10 Page 6 of 6




 1                                      CERTIFICATE OF SERVICE

 2           I hereby certify that on the 24th day of June, 2010, I electronically filed the foregoing

 3   document with the clerk of the court for the U.S. District Court, District of Nevada, using the

 4   electronic case filing system. The electronic case filing system sent a “Notice of Electronic Filing” to

 5   the attorneys of record who have consented in writing to accept this Notice as service of this

 6   document by electronic means.

 7
                                                     By:    _________/s/ Eric Buresh___________
 8                                                           Eric A. Buresh, MO Bar No. 52407
                                                             Attorney for Defendants
 9
                                                             Rimini Street, Inc. and Seth Ravin
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
                            RIMINI STREET INC.’S OPPOSITION TO PLAINTIFFS MOTION TO DISMISS
     4054854 v1                                         5                                     2:10-CV-106
